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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                       (Baltimore Division)


    In re:                                                   Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,1               Chapter 11

                                 Debtors.                    (Jointly Administered)



               RESERVATION OF RIGHTS AND LIMITED OBJECTION OF THE
             OFFICIAL COMMITTEE OF UNSECURED CREDITORS REGARDING
             THE EMERGENCY MOTION TO COMPEL DEBTORS TO ASSUME OR
              REJECT DISTRIBUTION AGREEMENT WITH TITAN PUBLISHING
                  GROUP, LTD. BY APRIL 25, 2025, AND RELATED RELIEF,
                OR IN THE ALTERNATIVE FOR ADMINISTRATIVE EXPENSE

             The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned debtors in possession

(collectively, the “Debtors”), by and through its undersigned counsel, hereby files this reservation

of rights and limited objection in connection with the Emergency Motion to Compel Debtors to

Assume or Reject Distribution Agreement with Titan Publishing Group, Ltd. by April 25, 2025,

and Related Relief, or in the Alternative for Administrative Expense [D.I. 347] (the “Motion”).

                             RESERVATION AND LIMITED OBJECTION

             1.    Counsel to the Committee has been and intends to continue to be involved in

ongoing discussions with counsel to the Debtors and Titan Publishing Group, Ltd. (“Titan”)

regarding the Motion. The Committee’s position regarding the Motion will be informed by, among




1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.


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other things, those discussions and the extent of the designation rights exercised by the purchasers

of substantially all of the Debtors’ assets.

        2.      The Committee, however, objects to the alternative relief requested in the Motion,

to the extent that it results in Titan being granted an allowed administrative expense claim that is

speculative or otherwise not based on an actual benefit to the Debtors’ estates.

        3.      Given the ongoing discussions and designation rights period, the Committee

reserves all rights with respect to the Motion, including as to any potential opposition or other

response thereto.

 May 16, 2025

 TYDINGS & ROSENBERG LLP                             LOWENSTEIN SANDLER LLP
                                                     Bruce S. Nathan (admitted pro hac vice)
 /s/ Stephen B. Gerald                               Gianfranco Finizio (admitted pro hac vice)
 Dennis J. Shaffer (MD Bar No. 25680)                Chelsea R. Frankel (admitted pro hac vice)
 Stephen B. Gerald (MD Bar No. 26590)                1251 Avenue of the Americas
 1 East Pratt Street, Suite 901                      New York, NY 10020
 Baltimore, MD 21202                                 Telephone: (212) 262-6700
 Telephone: (410) 752-9700                           Email: bnathan@lowenstein.com
 Email: dshaffer@tydings.com                                gfinizio@lowenstein.com
         sgerald@tydings.com                                cfrankel@lowenstein.com

                                                     -and-

                                                     Michael T. Papandrea (admitted pro hac vice)
                                                     One Lowenstein Drive
                                                     Roseland, NJ 07068
                                                     Telephone: (973) 597-2500
                                                     Email: mpapandrea@lowenstein.com

                    Co-Counsel to the Official Committee of Unsecured Creditors




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 16th day of May, 2025, the foregoing was served via the
Court’s CM/ECF filing system on the parties set forth below:

Jan Berlage JBerlage@GHSLLP.com, tcollins@ghsllp.com
Hugh M. (UST) Bernstein hugh.m.bernstein@usdoj.gov
Daniel Jack Blum jack.blum@polsinelli.com,
lsuprum@polsinelli.com;delawaredocketing@polsinelli.com
Thomas K. Bredar thomas.bredar@wilmerhale.com,
andrew.goldman@wilmerhale.com;benjamin.loveland@wilmerhale.com;yolande.thompson@wi
lmerhale.com
Andrew Brown abrown@klestadt.com
David W.T. Daniels ddaniels@perkinscoie.com,
docketnyc@perkinscoie.com;nvargas@perkinscoie.com;KMcClure@perkinscoie.com
Turner Falk turner.falk@saul.com, tnfalk@recap.email;Veronica.Marchiondo@saul.com
Ashley N Fellona ashley.fellona@saul.com, janice.mast@saul.com
Gianfranco Finizio gfinizio@lowenstein.com
Chelsea R Frankel cfrankel@lowenstein.com
Zvi Guttman zvi@zviguttman.com, zviguttman@gmail.com,zviguttman@outlook.com
Jeffrey C. Hampton jeffrey.hampton@saul.com
Adam H Isenberg adam.isenberg@saul.com
C. Kevin Kobbe kevin.kobbe@us.dlapiper.com, docketing-baltimore-0421@ecf.pacerpro.com
Eric George Korphage korphagee@whiteandwilliams.com
Mark Minuti mark.minuti@saul.com, robyn.warren@saul.com
Bruce S. Nathan bnathan@lowenstein.com
Michael Papandrea mpapandrea@lowenstein.com
Jordan Rosenfeld jordan.rosenfeld@saul.com
Dennis J. Shaffer dshaffer@tydings.com, scalloway@tydings.com; mhickman@tydings.com;
jlee@tydings.com
Indira Kavita Sharma indira.sharma@troutman.com,
katherine.culbertson@troutman.com;jonathan.young@troutman.com;david.ruediger@troutman.c
om;errol.chapman@troutman.com;toyja.kelley@troutman.com
Nicholas Smargiassi nicholas.smargiassi@saul.com
Brent C. Strickland bstrickland@wtplaw.com, mbaum@wtplaw.com;brent-strickland-
3227@ecf.pacerpro.com
Paige Noelle Topper paige.topper@saul.com
US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

                                                        /s/ Stephen B. Gerald
                                                        Stephen B. Gerald




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